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                              IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON



JOHN PHILIP STIRLING,                                                    Case No. 3:20-cv-00713-SB

                 Plaintiff,                                                     FINDINGS AND
                                                                            RECOMMENDATION
       v.

CHINA, et al.,

                 Defendants.


BECKERMAN, U.S. Magistrate Judge.

       Plaintiff John Philip Stirling (“Stirling”), a self-represented litigant in custody at the

Federal Correctional Institution Sheridan (“Sheridan”), filed this case on April 30, 2020, seeking

$30 million in damages from the People’s Republic of China (“China”) for its negligent release

of the Covid-19 virus to the United States. (ECF No. 1.) The Court recommends that the district

judge dismiss Stirling’s complaint.

       The district court must dismiss a complaint sua sponte if it determines at any time that it

lacks subject matter jurisdiction. See FED. R. CIV. P. 12(h)(3) (“If the court determines at any

time that it lacks subject-matter jurisdiction, the court must dismiss the action.”); see also Valdez

v. Allstate Ins. Co., 372 F.3d 1115, 1116 (9th Cir. 2004) (“We are obligated to consider sua

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sponte whether we have subject matter jurisdiction.” (citing Allstate Ins. Co. v. Hughes, 358 F.3d

1089, 1093 (9th Cir. 2004))). This Court lacks jurisdiction over Stirling’s claims against China

because China is immune from suit in federal court under the Foreign Sovereign Immunities Act

(“FSIA”). See 28 U.S.C. § 1604 (“[A] foreign state shall be immune from the jurisdiction of the

courts of the United States and of the States except as provided in sections 1605 to 1607 of this

chapter”); see also Shamoun v. Republic of Iraq, 441 F. Supp. 3d 976, 988 (C.D. Cal. Feb. 27,

2020) (“‘A federal court lacks subject[-]matter jurisdiction over a claim against a foreign state

unless the claim falls within an exception to immunity under the FSIA.’” (quoting Siderman de

Blake v. Republic of Argentina, 965 F.2d 699, 706 (9th Cir. 1992))); Havensight Capital LLC v.

People’s Republic of China, No. CV 15-01206 DDP (FFMx), 2015 WL 12819155, at *1 (C.D.

Cal. Apr. 27, 2015) (ordering the plaintiff to show cause why the court should not dismiss case

against the People’s Republic of China (“PRC”) for lack of jurisdiction, because “PRC is a

foreign state within the meaning of 28 U.S.C. § 1603” and “[a]s a general matter, foreign states

are immune from suit, 28 U.S.C. § 1604, except for certain exceptions defined at 28 U.S.C. §

1605”).

       The exception to foreign sovereign immunity for personal injury suits under 28 U.S.C. §

1605 does not apply here because Stirling’s negligence claim is necessarily based on the Chinese

government’s “exercise or performance or the failure to exercise or perform a discretionary

function[.]” 28 U.S.C. § 1605(a)(5)(A) (“A foreign state shall not be immune from the

jurisdiction of courts of the United States . . . in any case-- . . . in which money damages are

sought against a foreign state for personal injury or death, or damage to or loss of property,

occurring in the United States and caused by the tortious act or omission of that foreign state or

of any official or employee of that foreign state while acting within the scope of his office or



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employment; except this paragraph shall not apply to--(A) any claim based upon the exercise or

performance or the failure to exercise or perform a discretionary function regardless of whether

the discretion be abused”); see also Shamoun, 441 F. Supp. 3d at 996 (dismissing tort claims

against the Republic of Iraq without leave to amend and recognizing that the discretionary

function exclusion was designed to shield “those decisions ‘grounded in social, economic, and

political policy’” (quoting Soldano v. United States, 453 F.3d 1140, 1145 (9th Cir. 2006))).

       China is a foreign state immune from the jurisdiction of this Court, and therefore the

district judge should dismiss Stirling’s complaint against China for lack of subject matter

jurisdiction. See Carrasco v. Al-Mazrodei, 252 F. App’x 850, 851 (9th Cir. 2007) (affirming

dismissal of tort claim against the United Arab Emirates where the plaintiffs “failed to establish

that the tortious activity exception to the FSIA, 28 U.S.C. § 1605(a)(5), applied, and therefore

the district court correctly concluded it lacked subject matter jurisdiction over the case”).

                                          CONCLUSION

       For the reasons stated, the district judge should DISMISS Stirling’s complaint (ECF No.

1) without leave to amend, and DENY AS MOOT Stirling’s Motion for Default Judgment (ECF

No. 9) and Motion for Reconsideration (ECF No. 14).1

                                     SCHEDULING ORDER

       The Court will refer its Findings and Recommendation to a district judge. Objections, if

any, are due within fourteen (14) days. If no objections are filed, the Findings and

Recommendation will go under advisement on that date. If objections are filed, a response is due


       1
         Stirling has refused to pay the required filing fee or file an application to proceed in
forma pauperis. (See ECF Nos. 6-7, 10-14.) Nevertheless, the Court recommends dismissal of
the complaint without requiring Stirling first to pay the filing fee because it is a more efficient
use of judicial resources than litigating the fee issue in this court and on appeal. See ECF No. 12
(dismissing Stirling’s interlocutory appeal in which he asserted he is exempt from the filing fee
requirement pursuant to 28 U.S.C. § 1916 because he is a seaman).
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within fourteen (14) days. When the response is due or filed, whichever date is earlier, the

Findings and Recommendation will go under advisement.

       DATED this 14th day of August, 2020.

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                                                     HON. STACIE F. BECKERMAN
                                                     United States Magistrate Judge




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